   Case 2:11-cr-00191-MHT-CWB Document 169 Filed 03/23/12 Page 1 of 3




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA   )
                           )
                           )             CRIMINAL ACTION NO.
    v.                     )                2:11cr191-MHT
                           )                     (WO)
CHRISTOPHER DARRIN ALLOWAY )


                        OPINION AND ORDER

    This cause is before the court on the motion to

continue, filed by defendant Christopher Darrin Alloway

on March 21, 2012.       The case is currently set for trial

on May 7, 2012.        For the reasons set forth below, the

court finds that the trial should be continued until June

4, 2012, pursuant to 18 U.S.C. § 3161(h)(7)(A).

    While the granting of a continuance is left to the

sound discretion of the trial judge, see United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act.

The Act provides, in part, as follows:

          “In any case in which a plea of not
          guilty is entered, the trial of a
          defendant charged in an information or
   Case 2:11-cr-00191-MHT-CWB Document 169 Filed 03/23/12 Page 2 of 3




          indictment with the commission of an
          offense shall commence within seventy
          days from the filing date (and making
          public)    of   the    information    or
          indictment, or from the date the
          defendant has appeared before a judicial
          officer of the court in which such
          charge is pending, whichever date last
          occurs.”

18 U.S.C. § 3161(c)(1).         However, the Act excludes from

the 70-day period any continuance based on “findings that

the ends of justice served by taking such action outweigh

the best interest of the public and the defendant in a

speedy trial.”     Id. § 3161(h)(7)(A).           In granting such a

continuance, the court may consider, among other factors,

whether the failure to grant the continuance “would deny

counsel   for   the    defendant       or   the   attorney    for       the

Government the reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence.”     Id. § 3161(h)(7)(B)(iv).

    This court finds that the ends of justice served by

continuing this trial outweigh the best interest of the

public and Alloway in a speedy trial.               Defense counsel



                                   2
   Case 2:11-cr-00191-MHT-CWB Document 169 Filed 03/23/12 Page 3 of 3




has another criminal trial currently scheduled for the

five weeks directly preceding the trial in this case.

Without     a    continuance,        defense    counsel        will     have

insufficient      opportunity        to   prepare    fully      Alloway’s

defense.    The need for adequate representation therefore

outweighs any interest in a speedy trial.



                                  ***

    Accordingly, it is ORDERED that defendant Christopher

Darrin Alloway’s motion to continue (doc. no. 167) is

granted    and    that    his   trial     and   jury    selection        are

continued       until    June   4,     2012,    at     10:00     a.m.     in

Montgomery, Alabama.

    DONE, this the 23rd day of March, 2012.

                               /s/ Myron H. Thompson
                            UNITED STATES DISTRICT JUDGE
